Case 3:18-cv-02036-E Document 85-2 Filed 01/22/21   Page 1 of 5 PageID 2487




                              Exhibit B
Case 3:18-cv-02036-E Document 85-2 Filed 01/22/21                                        Page 2 of 5 PageID 2488


                                    NON-CIRCl/~IVENTIO!\ AGRF.F.Mt.:NT

               This :--lon-C1rcu1mcntion Agrccmml (1his "Agreement") is cnlcrcd into as of t h i ~
       ot~:I!;l, .2016
       ,\Di _ ____
                                   . Jnd is by and between Premier I lcctroni<.:s LLC_ ("'Prcscntor") and
                                  (""Prcscntee.. ). together with each o fl'rescntor· sand Pre~cntcc · s officer~.
       dircclor~. shareholders. agcnl~. employees. con~uhanls. allonic}~ and affiliates.

                                                        REClrALS

              \\ I !FREAS. Prcsenlor l1.1s a business investment opportumt) \\ hich it desires lo pre~cnl (Cl
       Prcscnlee and any and JII other opport1111i1ies rcla1ing to or tkrivcd from sud1 opponunil} (the
       "Oppor1un11y"). and inlcnds lo assist l'resenlcc with respect lo the Opportunit}: and

              'wHERE:\S. l'res..:nt.:c has an investor (1hc ··[nvestor·") who is interested in pai1icipatinw. in
       the opportunity: and

               \\' I IL.REA~. Prcscntor desires and l'rescnlcc agrees that prior to idcmi lication or the
       Opporlunll) hy l'resenlor and lhc Investor b~ Presentec. each of Presentor and l'rcscntce must ,1gree
       10 certain non-circum\ e111io11 and nondisclosme covenants: and

             \\'IIEREAS. l'rcscntcc desires to be presen1cd \\ ith 1hc opportuni1 1 lo acquire the
       Opponunil) and Prt>scntor de~ires lo present the opponunil) 10 the 111\cstor.

             KOW. lllERl:FORI ·. for goo<l and adeq11a1e consideration. 1hc receipt of \\hicl1 i,hcrch\
       acknowledged. the parties hereto. agn:c as follows:


                                                      ARTICLE I
                                               l\01'-CIRCUMVENT!Ol\

               Section I. Further contacts with the Opportunity (:"lon-Circum, cntion). l'rc~..:111ce
       agrees 1101 to conl:H.:t or iniliatc contact al an) 11111c:: for an) purpose. either dirccll), or mdircctly. the
       Opporlunity or an 1 ofticers. directors. shareholders. consultants. atlornc1s. emplo)et'~. agcnl<; or
       other affiliates of1he Opportunit). or an) other prop..:l'I) or propcnics \\ho~e idcn1i1:, \\JS re\calcd
       lhrough lhe efforts of Prcsc111or. unless such apprmal is spccificall) gran1cd in \Hillen form b}
       Prcscnlor on a casc•b)·Case basis. Prcscnree f"urthcr agree~ nol rn undertake any transaction or a
       series of transactions of an) kind with 1he Opportunit) or 10 collect any lees in conncclion 1\ i1h the
       Opportunity without lhc express prior \Hillen agreement or Pre~enlor. \\hich agrcemcnl nm) be
       withheld in Presenlor's sole discretion.




                                                                                                                      PREMIER• I
Case 3:18-cv-02036-E Document 85-2 Filed 01/22/21                                      Page 3 of 5 PageID 2489


               ~l'1•1inn )  Trade ~ecrets. \luch of the business infonnation comnumicated to Prc~cntor
       by J>rcscntce and b) Prcsentcc to Prcscnwr may be trade !>ccrets to sud1 party. Each of Presentee
       and l'resentor agree~ Lo prc~cn c the secrecy of said informatnm All information which becomes
       known through the course ofbu~ine~~ conduetc:d by and hct\\ccn Prcscntor and Prcsentee shall be
       deemed trade secrets. Said trade secret-; include. but ,m: not limited to. prepared information
       packages; financials: r~·late<l dPcumcnts: namc:s of potential acqui~itions. intermediaries. contacts
       and deal sources. deal ~tructurc~ and financial cons1dcrations. Each of Prcsentt:e and l'rcsentor
       agrees to preserve and protect the !>ccm:y ,md confidcntiality of such information and shall disdo,e
       same to no third part) "ithout the e,pre,~ "rittcn permission from the other. This prohibition shall
       be enforced from 1he date of this agreement and for a period of five years thcreaficr.

               Section 3. <\pplicabilit,- of Agreement Prcscntor and Prescntce both agree that the
       prodsion~ of this Agrccmcnt extend to the c:mploycc~ and officers or their respective
       companies/businesses Said principals further a~rec to pnmde the requisite internal seeurit~ of the
       subject data \dthin their re~pc:ctiH: org,mizations.


                                                      ,\RTlCI.E II
                                                 \,ll~CEI .I.ANI-OUS

                Section I. Dispuk Resolution. In the event of any dispute. contron:rsy. or claim related
       to or arising from the terms ofthis ,\grccment. the parties hereto hereby agree that any such di~putc.
       controversy or claim sh,tll be settil:d b~ arb11rati1111 in accordance with the Commercial t\rhitration
       Rules of the: Amem:an Arbitration Association and _judgment upon the award rendered by the
       arbitrator(s) ma~ be entcr1.."(I 111 any wurt ha\'ing jurisdiction thereof. Said arbitration shall be
       conducted in Dallas Count). lexa~. by a single arbitrator Such dispute resolution shall be in
       accordance with the applicable suh~tanti\ e la\\ s or the state of Texas. The prevailing part} shall be
       entitled to all Ices and co~ts ,1rb111g thcn:from. including. hut not limited to. auomC) 's fees ,ind
       costs.

               Section 2 .\uthorit) . Lich of l'rc~cntor and Presentee hcreb~ rcprcscnts that it has full
       right. power and at1thority to execute this :\greement and to pcrfom1 the actions contemplated
       hereby. l pon e,ccution of this Agreement. c,11.:h 11f Prescntor and l'rescnh!C hereby binds its
       representatives and heirs and all ~ub:.idiarics dlld lirms affiliatcd 1\ ith l'resentor or Prcsentec. as the
       case may be. under the tenns ofth1s ,\grccmcnt.

               Section 3. lntl!gration and Sc,·crabilit~·- I his Agreement constitutes the entire
       agr~cmcnt hetween the p.irt1cs hereto rcgan.l tng the transactions contemplated hcrchy. In the event a
       term or terms or this t\grec:m~nt i, ·,ire held 111 bc unenforceable or uni a,\ ful. the remaining terms of
       this Agreement shall continue in full force and effect.




                                                            2




                                                                                                                  PREMIER· 2
Case 3:18-cv-02036-E Document 85-2 Filed 01/22/21                                     Page 4 of 5 PageID 2490


                ~rrliun 4, 1'(oficcs. 1\ll notices. rcque~ts. con~i>nt~ and other communications hereunder
       shall be in "riling and shall be delivered in person u1 lly 1eg1stcrcd or ccnifkll mail.11:l\11111.:c.:ipt
       requested. postage and fees pr.:paid. ur h) ovcrnrghl courier. receipt signature required. or b:
       tclccopicr transmission." ith vcritication of the transmis-;ion rccci\·c<l b) the sender. to the p.irtics as
       set forth helm, or at such other place as either par1y ma~. b~ writlcn notice 10 the other. direct:

                       1f lo Pn:sentor:




                       Facsimile 1\o.: '112      ti/,,., fJlo~
                       Ann:       '51,1~           G,c.1rrcc12/
                       If to Prcscnlet::
                                     A,\ T-

                       Facsimile :--..o.:
                       Attn:                ---------
               Any part) hcre10 may change thc address designated for mailing by written notice to the
       other party. All such notices shall he deemed to he given \1 hen delivered in person or tdecopicd. or
       if placed in the mail as aforesaid. then four days tht:rcaftcr.

              Section 5.     Counterparts. This ,\gre.:mem ma) be .:xecu1cd simultaneously in one or
       more eounlerpans. including telecopy facsimiles. each of which shall he deemed an original. but i,ll
       of which logethcr shall constitute one and 1hc same agreement.

              Section 6.      Amendments. This .J\grcemcnt ma) onl~ he amended. supplemented. or
       otherwise altered with 1he express wrillcn cvnscnl of all parties hereto.




                                                            J




                                                                                                                PREMIER •3
Case 3:18-cv-02036-E Document 85-2 Filed 01/22/21                                      Page 5 of 5 PageID 2491


      Thi' Pnrti<'~ h,•n·to. :1ercci1112 to he hound_hcrchy execute tlrn, Al!recmenl effectiw the date tir,t ~ct
       forth ahon.:.

                              PRl~Sl:N I OR

                              lh:-     f rievc-uefL
                                  ____,___                     EfecmOfV1c<:,. u.c  /

                              ~ame:              ¾   f!yv'tv   G11:, <fi<=rr.11
                              ·1 itlc:               i2£L51JUAT


                               l'Rl;Sl::.N ru:

                              By:._--~..,.\:.,,.,,..--
                              Kame: '             L, :1e''-"i .
                              T i t k : ~ 4 - G ~~ 0.<-




                                                           4




                                                                                                                   PREMIER-4
